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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

    WARREN B. MCFERREN,
                                                                    Case No. 1:19-cv-00531
         Plaintiff,

    v.                                                              Honorable Thomas M. Durkin

    RECEIVABLES MANAGEMENT
    PARTNERS, LLC,                                                  Honorable Susan E. Cox
                                                                    Magistrate Judge
         Defendant.

                               PLAINTIFF’S INITIAL STATUS REPORT1
       Pursuant to Fed. R. Civ. P. 26(f), Plaintiff, WARREN B. MCFERREN, submits the
following initial status report.

A.         Nature of the Case

           A.         Identify the attorneys of record for each party, including the lead trial
                      attorney.
    Joseph S. Davidson                                         David M. Schultz
    Mohammed O. Badwan                                         Brandon S. Stein
    SULAIMAN LAW GROUP, LTD.                                   HINSHAW & CULBERTSON LLP
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    Counsel for Warren B. McFerren                             Counsel for           Receivables         Management
                                                               Partners, LLC




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  Counsel for Plaintiff sincerely apologizes for its inadvertent oversight in failing to circulate an Initial Status Report
to Counsel for Defendant.
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      B.     State the basis for federal jurisdiction.

             Subject matter jurisdiction is conferred over Plaintiff’s Fair Debt Collection
             Practices Act (“FDCPA”) claims by 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

             Subject matter jurisdiction is conferred over Plaintiff’s Telephone Consumer
             Protection Act (“TCPA”) claims by 28 U.S.C. § 1331.

      C.     Describe the nature of the claims asserted in the complaint and any
             counterclaims.

             Plaintiff’s claims are founded on alleged improper collection activities in violation
             of 15 U.S.C. §§ 1692d(5) and g(a); as well as calls placed to Plaintiff by an
             automated telephone dialing system or an artificial or pre-recorded voice to a
             telephone number assigned to a cellular telephone service by Defendant in violation
             of 47 U.S.C. §227 (b)(1)(A)(iii).

B.    Pending Motions and Case Plan

      A.     Identify any pending motions.

             None.

      B.     Confirm that the parties have read the district court’s standing order for the
             MIDP program. Describe your discussions regarding MIDP, including
             resolved and unresolved disagreements regarding such discovery.

             Plaintiff read the district court’s standing order for the MIDP program. The parties
             haven’t held discussions regarding MIDP; however, don’t foresee disagreements
             regarding such discovery.

      C.     Submit a proposal for a discovery plan, including the following information:

             1.      The type of discovery needed;

                     Oral and written.

             2.      A date to issue written discovery not already covered under the
                     mandatory disclosures required by the MID;
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                    May 2, 2019.

             3.     If there will be expert discovery relevant to dispositive liability motions,
                    an expert discovery completion date, including dates for the delivery of
                    expert reports;
                    Plaintiff will disclose experts by July 17, 2019. Defendant will disclose
                    experts by August 1, 2019. Expert reports will be delivered by September
                    10, 2019. Expert discovery will be completed by October 9, 2019.

             4.     A liability discovery completion date;

                    August 13, 2019.

             5.     A deadline to amend pleadings;

                    June 27, 2019

      D.     E-Discovery

             1.     Indicate whether discovery will encompass electronically stored
                    information, and the parties’ plan to ensure that such discovery
                    proceeds appropriately;

                    Discovery is unlikely to encompass electronically stored information.

             2.     Indicate whether the parties anticipate any electronic discovery
                    disputes and whether the parties would agree to submit an electronic
                    discovery dispute to a mediator from the E-Mediation Panel.

                    Discovery is unlikely to encompass electronically stored information. To
                    the extent any electronic discovery disputes would arise, Plaintiff would
                    agree to submit an electronic discovery dispute to a mediator from the E-
                    Mediation Panel.

      E.     Indicate whether a jury is requested and the probable length of trial.

             A jury is requested by both Plaintiff and Defendant. The probable length of trial is
             two (2) days.

3.    Consent to Proceed Before a Magistrate Judge
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      Indicate whether the parties consent unanimously to proceed before a Magistrate
      Judge for all matters in the case, including dispositive motions and trial.

      Plaintiff doesn’t consent to proceed before a Magistrate Judge for all matters in the case,
      including dispositive motions and trial.

4.    Status of Settlement Discussions

      A.     Indicate whether any settlement discussions have occurred, and if so, the
             status of those discussions.

             Plaintiff made settlement demand on February 28, 2019. Plaintiff has not received
             Defendant’s response.

      B.     Whether the parties request a settlement conference before the Magistrate
             Judge assigned to the case.

             Plaintiff doesn’t request a settlement conference at this time; though would
             respectfully reserve the right to request one in the future to the extent it would
             expedite the resolution of this case.

DATED: March 29, 2019                                      Respectfully submitted,

                                                           /s/ Joseph S. Davidson

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